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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


 Intersections Inc. and Net Enforcers, Inc.,

                        Plaintiffs,                     Civil Action No. 1:09CV597 (LMB/TCB)
                   v.

 Joseph C. Loomis and Jenni M. Loomis,

                        Defendants.


                  PLAINTIFFS’ MOTION TO DISQUALIFY
       EMIL W. HERICH AND KEATS MCFARLAND & WILSON LLP FROM
    APPEARING AS COUNSEL ON BEHALF OF DEFENDANT JOSEPH C. LOOMIS

         Plaintiffs Intersections Inc. and Net Enforcers, Inc., by counsel, for the reasons stated in

 the accompanying Memorandum, respectfully move this Court for entry of an Order

 disqualifying Emil W. Herich and Keats McFarland & Wilson LLP from appearing as counsel on

 behalf of Defendant Joseph C. Loomis.



 Dated: August 20, 2010                         Respectfully submitted,


                                                By:       /s/
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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 20th day of August, 2010, I will electronically file the
 foregoing Plaintiffs’ Motion to Disqualify Emil W. Herich and Keats McFarland & Wilson LLP
 From Appearing as Counsel on Behalf of Defendant Joseph C. Loomis with the Clerk of the
 Court using the CM/ECF system, which will then send a notification of such filing (NEF) to the
 following:
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                      Counsel for Defendant Jenni M. Loomis

         I also hereby certify that on the 20th day of August, 2010, I will serve the foregoing
 Plaintiffs’ Motion to Disqualify Emil W. Herich and Keats McFarland & Wilson LLP From
 Appearing as Counsel on Behalf of Defendant Joseph C. Loomis by electronic mail and United
 States mail, postage prepaid, upon:

                      Emil W. Herich
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                      Counsel for Defendant Joseph C. Loomis

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